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                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA

                                                  :
POLICE OFFICER KIMYETTA KING                      :
                                                  :
                       Plaintiff,                 : No. 2:18-cv-00486-GEKP
                  v.                              :
                                                  : JURY TRIAL OF TWELVE (12)
CITY OF PHILADELPHIA                              : DEMANDED
d/b/a PHILADELPHIA POLICE                         :
DEPARTMENT                                        :
1515 Arch St, 16th FL                             :
Philadelphia, PA 19102,                           :
                                                  :
       And                                        :
                                                  :
SERGEANT NANCY QUINN                              :
Individually, and in her official capacity as a   :
Sergeant for the                                  :
PHILADELPHIA POLICE DEPARTMENT                    :
1515 Arch St, 16th FL                             :
Philadelphia, PA 19102,                           :
                                                  :
                       Defendants.                :

                                   SECOND AMENDED
                                CIVIL ACTION COMPLAINT
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       Plaintiff, Police Officer Kimyetta King (“Plaintiff”) brings this action against her

employer, the City of Philadelphia doing business as the Philadelphia Police Department

(“PPD”), and her supervisor Sergeant Nancy Quinn (“Defendant Supervisor”) (collectively,

the City and Sergeant Quinn are referred to herein as “Defendants”). Defendants have

intentionally discriminated against Plaintiff and have created a racially hostile work

environment in violation of the civil rights of Plaintiff under Federal and Pennsylvania State

law.

I.     JURISDICTION AND VENUE

1.     Jurisdiction in this Honorable Court is based on a violation of Federal Law conferred by

28 U.S.C. § 1331 and 42 U.S.C. § 1981; supplemental jurisdiction over state law claims is

granted by 28 U.S.C. § 1367.

2.     Venue is proper in this District as the events that give rise to the causes of action herein

took place within this District.

II.    PARTIES

3.     Plaintiff, Kimyetta King is a female African American adult individual who is a Police

Officer assigned to the Court Liaison Unit (“CLU”) of the PPD and resides in the

Commonwealth of Pennsylvania. Plaintiff can be served care of her attorneys at the above-

captioned address.

4.     Defendant, City of Philadelphia, doing business as the Philadelphia Police Department

(“PPD”), is a municipality, duly organized and existing under the laws of the Commonwealth of

Pennsylvania, with an address for service at the above captioned address. PPD meets the

definition of employer as defined under Federal and Commonwealth laws.

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6.     Defendant, Nancy Quinn, is a Caucasian female adult individual who, at all times

material herein, was employed as a Sergeant for the CLU of the PPD. Defendant Supervisor is

sued both individually and in her official capacity.

III.   OPERATIVE FACTS

7.     At all times relevant hereto, Plaintiff and Defendant Supervisor were assigned to PPD

CLU.

8.     Plaintiff is a member of a protected class, to wit: African American. Defendant

Supervisor is Caucasian.

9.     Defendant Supervisor was Plaintiff’s supervisor since in or around 2014.

10.    At all times relevant, Plaintiff performed her duties of employment in a satisfactory

manner.

11.    Plaintiff has been with the PPD for approximately 21 years and has been assigned to the

CLU for approximately 14 years.

12.    Upon information and belief, Defendant Supervisor was previously transferred from her

assigned in the PPD’s Vice Unit to CLU as a result of, or in part due to, complaints concerning

Defendant Supervisor’s racial discrimination against African-American police officers.

13.    Nonetheless, Defendant Supervisor continued her racial discrimination in the CLU,

creating a racially hostile work environment by intentionally targeting and discriminating against

Plaintiff and other African American police officers to such a severe degree that there is a crisis

of racial discrimination in the CLU that is currently becoming increasingly hostile by the day.

14.    Defendant Supervisor deliberately and intentionally assigned Plaintiff, due to her race, to

the most demanding and difficult courtroom assignment (in terms of volume of cases and




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preparatory work) at the Philadelphia Criminal Justice Center, without the benefit of a partner to

share the workload.

15.    As a comparator, Defendant Supervisor assigned two police officers, of comparable

experience, to the second most demanding and difficult courtroom assignment (in terms of

volume of cases and preparatory work) at the Philadelphia Criminal Justice Center; i.e. Police

Officers Grace Gardener and Robert Lucini – who are Caucasians.

16.    On multiple occasions, Plaintiff requested Defendant Supervisor assign Plaintiff a

partner, or in the alternative, assign Plaintiff to a different courtroom assignment. However,

Defendant Supervisor continually and arbitrarily refused Plaintiff’s requests.

17.    As a result, Plaintiff performed substantially more work than non-minority officers,

including being forced to take work home with her multiple times per week while non-minority

officers in the CLU never were forced to take work home with them. Likewise, Plaintiff suffered

significantly more work-place stress and aggravation as a result of being assigned tasks that two

Caucasian officers would have shared.

18.    Defendant Supervisor specifically singled out Plaintiff based on her race and treated

Plaintiff less favorably than similarly situated non-minority officers, including, but not limited to

Police Officers Grace Gardener and Robert Lucini.

19.    The aforementioned discrimination continued on a daily basis from 2014 through present.

20.    In or around February 2017, Defendant Supervisor filed a complaint against her

supervisor, Lt. Marty Best, alleging that Lt. Best was inappropriately preventing her from

punishing Plaintiff.

21.    As a result of the complaint, Defendant, City of Philadelphia temporarily re-assigned

Defendant Supervisor while it investigated the complaint.



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22.    During the course of PPD’s internal investigation, Plaintiff’s co-workers revealed that

Defendant Supervisor systematically discriminated against various female African-American

police officers, including non-parties, Taliban Snell, Karen Hughes, Najemma Wilson, Veverly

Minor, and Aneesha Johnson, as well as against Plaintiff.

23.    Discovery of Taliban Snell, Karen Hughes, Najemma Wilson, Veverly Minor, and

Aneesha Johnson statements under oath to PPD’s internal affairs will reveal additional evidence

of Defendant Supervisor’s discrimination and Defendant, City of Philadelphia’s acquiescence to

such ongoing discrimination.

24.    In fact, Sargent Aneesha Johnson – a female African-American police officer - also has a

lawsuit against Defendants alleging that Defendant Supervisor subjected her to a hostile work

environment.

25.    Despite the overwhelming and credible testimony, in or around October 2017, Defendant,

City of Philadelphia returned Defendant Supervisor to CLU; there, Defendant Supervisor

remains Plaintiff’s supervisor to date.

26.    Defendant, City of Philadelphia has actual knowledge of Defendant Supervisor’s

discrimination against multiple female, African American police officers (as well as the prior

issues concerning Defendant Supervisor while she was assigned to Vice) yet returned the

Defendant Supervisor to the CLU without taking any reasonable steps to prevent further

discrimination; i.e., Defendant, City of Philadelphia’s has demonstrated its deliberate

indifference to the discrimination suffered by Plaintiff and others.

27.    Further discrimination has in fact occurred.

28.    In addition to ongoing assignment without a partner, Defendant Supervisor deliberately

punishes and harasses Plaintiff’s peers and colleagues who “assist” Plaintiff in performing her



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overwhelming tasks, as well as any peers and colleagues who are friendly towards Plaintiff in the

work environment.

29.     In fact, the work environment has deteriorated to the point that Plaintiff’s peers and

colleagues avoid socializing with Plaintiff in the workplace out of fear of being punished by the

Defendant Supervisor if they are seen even acknowledging Plaintiff.

30.     Further, Defendant Supervisor has arbitrarily denied Plaintiff’s previously-approved

vacation requests. Upon information and belief, Defendant Supervisor has not arbitrarily denied

previously-approved vacation requests of any non-minorities, such as Police Officers Grace

Gardener and Robert Lucini.

31.     Further still, Defendant Supervisor has continually and arbitrarily reprimanded Plaintiff

for violating non-existed policies and for occurrences that were not Plaintiff’s fault. Upon

information and belief, Defendant Supervisor has not arbitrarily reprimanded non-minorities for

non-existed policies and for occurrences that were not their fault.

32.     For example, Defendant Supervisor requires Plaintiff to sit in the Courtroom until 2pm –

even when Court concludes earlier in the day – while non-minority officers are allowed to leave

their Courtrooms and congregate in the main office – usually to watch a movie together until the

shift ends.

33.     Defendant Supervisor has created such an intolerable environment that Plaintiff has

sought counseling with the PPD’s employee assistance program on numerous occasions and has

required counseling to deal with the workplace discrimination and hostility.

34.     As Defendant, City of Philadelphia has actual knowledge of Defendant Supervisor’s

pervasive conduct against multiple African American police officers and has failed to take any




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meaningful steps to prevent it, Defendant Supervisor’s conduct qualifies as a custom and/or

practice of the PPD.

IV.     COUNTS OF ACTION

                                           COUNT I
                        Pursuant to 42 U.S.C. § 1981 via 42 U.S.C. § 1983
                                  Hostile Work Environment

35.     Plaintiff incorporates by reference all prior paragraphs as if set forth at length herein.

36.     As a result of Defendant Supervisor’s actions as aforesaid, Defendant Supervisor denied

Plaintiff the right to the same terms, conditions, privileges and benefits of her employment

agreement with the PPD, in violation of 42 U.S.C. § 1981.

37.     The aforesaid actions of Defendant Supervisor were not welcomed by Plaintiff.

38.     Defendant Supervisor’s denial to Plaintiff of the right to the same terms, conditions,

privileges and benefits of her employment agreement with the PPD was motivated by Plaintiff’s

race.

39.     Defendant Supervisor’s conduct was so severe and/or pervasive that a reasonable person

in Plaintiff’s position would find Plaintiff’s work environment to be hostile and/or abusive; in

fact, Plaintiff’s co-workers found Plaintiff’s work environment to be hostile and/or abusive.

40.     Plaintiff, as well as her co-workers, believed that Plaintiff’s work environment was

hostile and/or abusive due to Defendant Supervisor’s conduct.

41.     Defendant Supervisor’s conduct, against multiple African American police officers, is so

severe and extensive, it qualifies as a custom and/or practice of the PPD’s CLU.

42.     The custom and/or practice of the PPD’s CLU to discriminate against African American

police officers is actionable against the City of Philadelphia, a municipal entity, pursuant to 42

U.S.C. § 1983 as the City of Philadelphia had actual knowledge of the discrimination and took



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no meaningful steps to prevent it; in fact, City of Philadelphia acquiesced to the ongoing

discrimination by returning Defendant Supervisor to the PPD’s CLU.

43.     As a further result of Defendant Supervisor’s conduct, Plaintiff has suffered humiliation

and embarrassment, emotional distress, as well as attorneys’ fees and legal costs, for which

Plaintiff is entitled to recovery.

44.     Defendant Supervisor’s conduct and custom and/or practice exacerbated the work

environment to the point of a crisis.

45.     Defendant Supervisor’s conduct was intentional and committed with malice or reckless

indifference, thereby warranting the imposition of punitive damages.

46.     Plaintiff is suffering and will continue to suffer irreparable injury as a result of

Defendant Supervisor’s conduct unless and until this Court grants the relief requested herein.

V.      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection

to Defendant Supervisor’s improper conduct and specifically prays that this Court grant the

following relief to Plaintiff:

        (a)     declaring the acts and practices complained of herein to be in violation of

                Sections 1981 and 1983;

        (b)     enjoining and permanently restraining the violations alleged herein;

        (c)     entering judgment against Defendants and in favor of Plaintiff in an amount to

                be determined;

        (d)     awarding compensatory damages to make Plaintiff whole for all damages, past

                and future, which Plaintiff has suffered or may suffer as a result of Defendant

                Supervisor’s improper conduct;



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       (e)    awarding compensatory damages for Plaintiff for past and future pain and

              suffering, emotional upset, mental anguish, humiliation, and loss of life's

              pleasures, which Plaintiff has and will continue to suffer as a result of

              Defendant Supervisor’s improper conduct

       (f)    awarding punitive damages to Plaintiff;

       (g)    awarding Plaintiff such other damages as are appropriate under Sections 1981

              and 1983;

       (h)    awarding Plaintiff the costs of suit, attorneys’ fees; and

       (i)    granting such other and further relief as this Court may deem just, proper, or

              equitable including other equitable and injunctive relief providing restitution

              for past violations and preventing future violations.

                                                   Respectfully submitted,

WEISBERG LAW                                       SCHAFKOPF LAW, LLC

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